                      Case 1-21-42906-nhl                Doc 6-2          Filed 11/23/21     Entered 11/23/21 11:02:48



Information to identify the case:

Debtor 1:
                       Sadie L. Gilbertson−Guirand                                  Social Security number or ITIN:   xxx−xx−6839
                                                                                    EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2:                                                                           Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name   Last Name
(Spouse, if filing)                                                                 EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:         Eastern District of New York                 Date case filed for chapter:       7     11/22/21

Case number:1−21−42906−nhl
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                        About Debtor 2:

1.        Debtor's full name                      Sadie L. Gilbertson−Guirand

2.        All other names used in the aka Sadie Gilbertson, aka Sadie L. Gilbertson, aka
          last 8 years                Sadie Lee Gilbertson

3.      Address                                   2571 31st Street, Apt. 22
                                                  Astoria, NY 11102

4.      Debtor's attorney                         Norma E Ortiz                                          Contact phone 718−522−1117
                                                  Ortiz & Ortiz, LLP
        Name and address                          287 Park Avenue South                                  Email: email@ortizandortiz.com
                                                  Suite 213
                                                  New York, NY 10010

5.      Bankruptcy trustee                        Robert J Musso                                         Contact phone (718) 855−6840
                                                  26 Court Street
        Name and address                          Suite 2211                                             Email: Rmusso@nybankruptcy.net
                                                  Brooklyn, NY 11242
                                                                                                               For more information, see page 2 >
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Debtor Sadie L. Gilbertson−Guirand                                                                                         Case number 1−21−42906−nhl


6. Bankruptcy clerk's office                         271−C Cadman Plaza East, Suite 1595                              Hours open:
                                                     Brooklyn, NY 11201−1800                                          9:00 am − 4:30 pm Monday−Friday
    Documents in this case may be filed at
    this address. You may inspect all records                                                                         Contact phone (347) 394−1700
    filed in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                                      Date: 11/23/21

7. Meeting of creditors                              December 27, 2021 at 10:00 AM                                    Location:

    Debtors must attend the meeting to be                                                                             Office of the United States
    questioned under oath. In a joint case,          The meeting may be continued or adjourned to a                   Trustee, 271−C Cadman Plaza
    both spouses must attend. Creditors may          later date. If so, the date will be on the court                 East − Room 4515, Brooklyn, NY
    attend, but are not required to do so.           docket.                                                          11201−1800

8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 2/25/22
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.      conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                     that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                     receive the objection by the deadline to object to exemptions in line 9.
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